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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 LUKE DYER,                                            :   CIVIL ACTION
                                                       :
                  Plaintiff,                           :   Case No.: 2:21-cv-1532
                                                       :
           v.                                          :   Electronically Filed and Served via
                                                       :   CM/ECF
 CONNELLSVILLE HOUSING AUTHORITY;                      :
 CAROL L. STAINES, Individually and/or as              :
 agent for Connellsville Housing Authority;            :
 JAMIE VILELLA, Individually and/or as Agent           :
 for Connellsville Housing Authority, and; KEN         :
 TETIL, Individually and/or as Agent for               :
 Connellsville Housing Authority,                      :
                                                       :
                  Defendants.                          :

                                STIPULATION OF DISMISSAL

          The parties to the above-captioned action, by their undersigned counsel and pursuant to

Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby stipulate to the dismissal of

this action, as the parties have entered into a Settlement Agreement to resolve the above-captioned

action.

Respectfully Submitted,

DILLON MCCANDLESS KING                               SOUTHWESTERN PA LEGAL SERVICES
COULTER & GRAHAM, LLP

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Connellsville Housing Authority, Carol Staines,
Jamie Vilella, and Ken Tetil
